           Case 16-04725              Doc 1          Filed 02/15/16 Entered 02/15/16 17:17:07                                  Desc Main
                                                       Document     Page 1 of 45
 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF ILLINOIS

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                           Check if this is an
                                                                        Chapter 13
                                                                                                                           amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                         12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Lauro
     government-issued picture
                                       First Name                                             First Name
     identification (for example,
     your driver's license or
     passport).                        Middle Name                                            Middle Name

                                       Ocampo
     Bring your picture                Last Name                                              Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                             Suffix (Sr., Jr., II, III)


2.   All other names you
     have used in the last 8           First Name                                             First Name
     years
                                       Middle Name                                            Middle Name
     Include your married or
     maiden names.
                                       Last Name                                              Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   5        4       9    2   xxx – xx –
     number or federal                 OR                                                     OR
     Individual Taxpayer
     Identification number             9xx – xx –                   4        5       2    2   9xx – xx –
     (ITIN)

4.   Any business names                       I have not used any business names or EINs.            I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in            Business name                                          Business name
     the last 8 years
                                       Business name                                          Business name
     Include trade names and
     doing business as names
                                       Business name                                          Business name



Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
           Case 16-04725
            Lauro
                                  Doc 1          Filed Ocampo
                                                        02/15/16 Entered 02/15/16 17:17:07                                Desc Main
Debtor 1                                                                   Case number (if known)
             First Name          Middle Name       Document
                                                       Last Name Page 2 of 45
                                     About Debtor 1:                                          About Debtor 2 (Spouse Only in a Joint Case):

                                                  –                                                       –
                                     EIN                                                      EIN
                                                  –                                                       –
                                     EIN                                                      EIN

5.   Where you live                                                                           If Debtor 2 lives at a different address:

                                     2218 Lewis Av
                                     Number       Street                                      Number      Street




                                     North Chicago               IL        60064-3125
                                     City                        State     ZIP Code           City                       State     ZIP Code

                                     LAKE
                                     County                                                   County

                                     If your mailing address is different from                If Debtor 2's mailing address is different
                                     the one above, fill it in here. Note that the            from yours, fill it in here. Note that the court
                                     court will send any notices to you at this               will send any notices to you at this mailing
                                     mailing address.                                         address.



                                     Number       Street                                      Number      Street


                                     P.O. Box                                                 P.O. Box


                                     City                        State     ZIP Code           City                       State     ZIP Code


6.   Why you are choosing            Check one:                                               Check one:
     this district to file for
     bankruptcy                              Over the last 180 days before filing this               Over the last 180 days before filing this
                                             petition, I have lived in this district longer          petition, I have lived in this district longer
                                             than in any other district.                             than in any other district.

                                             I have another reason. Explain.                         I have another reason. Explain.
                                             (See 28 U.S.C. § 1408.)                                 (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the             Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you            for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                                  Chapter 7

                                            Chapter 11

                                            Chapter 12

                                            Chapter 13




Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
           Case 16-04725
            Lauro
                                 Doc 1         Filed Ocampo
                                                      02/15/16 Entered 02/15/16 17:17:07                            Desc Main
Debtor 1                                                                 Case number (if known)
             First Name         Middle Name      Document
                                                     Last Name Page 3 of 45
8.   How you will pay the fee           I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                        court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                        pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                        behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                        I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                        Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

                                        I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                        By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                        than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                        fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                        Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                 No
     bankruptcy within the
     last 8 years?                      Yes.

                                   District                                               When                    Case number
                                                                                                 MM / DD / YYYY
                                   District                                               When                    Case number
                                                                                                 MM / DD / YYYY

                                   District                                               When                    Case number
                                                                                                 MM / DD / YYYY

10. Are any bankruptcy                  No
    cases pending or being
    filed by a spouse who is            Yes.
    not filing this case with
                                   Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an              District                                               When                    Case number,
    affiliate?                                                                                   MM / DD / YYYY   if known


                                   Debtor                                                             Relationship to you

                                   District                                               When                    Case number,
                                                                                                 MM / DD / YYYY   if known

11. Do you rent your                    No.    Go to line 12.
    residence?                          Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                             residence?

                                                    No. Go to line 12.
                                                    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                    and file it with this bankruptcy petition.




Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
           Case 16-04725
            Lauro
                                      Doc 1        Filed Ocampo
                                                          02/15/16 Entered 02/15/16 17:17:07                              Desc Main
Debtor 1                                                                     Case number (if known)
             First Name              Middle Name     Document
                                                         Last Name Page 4 of 45
 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor                No. Go to Part 4.
    of any full- or part-time                Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                   Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as                  Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                      City                                                    State           ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                   Check the appropriate box to describe your business:
    to this petition.
                                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                          None of the above

13. Are you filing under                If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                   can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and                 most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business            or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                             No.   I am not filing under Chapter 11.

                                             No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                   the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                    Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                  Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                   No
    property that poses or is                Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                        If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or                 Where is the property?
    a building that needs urgent                                              Number   Street
    repairs?



                                                                              City                                     State          ZIP Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                           page 4
           Case 16-04725
            Lauro
                                   Doc 1        Filed Ocampo
                                                       02/15/16 Entered 02/15/16 17:17:07                               Desc Main
Debtor 1                                                                  Case number (if known)
             First Name          Middle Name      Document
                                                      Last Name Page 5 of 45
 Part 5:      Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court            About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you have
                              You must check one:                                          You must check one:
    received briefing
    about credit                 I received a briefing from an approved credit                I received a briefing from an approved credit
    counseling.                  counseling agency within the 180 days before                 counseling agency within the 180 days before
                                 I filed this bankruptcy petition, and I received             I filed this bankruptcy petition, and I received
    The law requires that
                                 a certificate of completion.                                 a certificate of completion.
    you receive a briefing
    about credit counseling      Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    before you file for          plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    bankruptcy. You must
                                 I received a briefing from an approved credit                I received a briefing from an approved credit
    truthfully check one of
                                 counseling agency within the 180 days before                 counseling agency within the 180 days before
    the following choices.
                                 I filed this bankruptcy petition, but I do not               I filed this bankruptcy petition, but I do not
    If you cannot do so,
                                 have a certificate of completion.                            have a certificate of completion.
    you are not eligible to
    file.                        Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy
                                 you MUST file a copy of the certificate and payment          petition, you MUST file a copy of the certificate
    If you file anyway, the      plan, if any.                                                and payment plan, if any.
    court can dismiss your
                                 I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    case, you will lose
                                 services from an approved agency, but was                    services from an approved agency, but was
    whatever filing fee you
                                 unable to obtain those services during the 7                 unable to obtain those services during the 7
    paid, and your
                                 days after I made my request, and exigent                    days after I made my request, and exigent
    creditors can begin
                                 circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    collection activities
                                 waiver of the requirement.                                   waiver of the requirement.
    again.
                                 To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                 requirement, attach a separate sheet explaining              requirement, attach a separate sheet explaining
                                 what efforts you made to obtain the briefing, why            what efforts you made to obtain the briefing, why
                                 you were unable to obtain it before you filed for            you were unable to obtain it before you filed for
                                 bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
                                 required you to file this case.                              required you to file this case.

                                 Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                 dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                 briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                                 If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                 still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                 You must file a certificate from the approved                You must file a certificate from the approved
                                 agency, along with a copy of the payment plan you            agency, along with a copy of the payment plan you
                                 developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                 may be dismissed.                                            may be dismissed.

                                 Any extension of the 30-day deadline is granted              Any extension of the 30-day deadline is granted
                                 only for cause and is limited to a maximum of 15             only for cause and is limited to a maximum of 15
                                 days.                                                        days.

                                 I am not required to receive a briefing about                I am not required to receive a briefing about
                                 credit counseling because of:                                credit counseling because of:

                                     Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                    deficiency that makes me                                     deficiency that makes me
                                                    incapable of realizing or making                             incapable of realizing or making
                                                    rational decisions about finances.                           rational decisions about finances.

                                     Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                    to be unable to participate in a                             to be unable to participate in a
                                                    briefing in person, by phone, or                             briefing in person, by phone, or
                                                    through the internet, even after I                           through the internet, even after I
                                                    reasonably tried to do so.                                   reasonably tried to do so.
                                     Active duty. I am currently on active military               Active duty. I am currently on active military
                                                  duty in a military combat zone.                              duty in a military combat zone.
                                 If you believe you are not required to receive a             If you believe you are not required to receive a
                                 briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                 motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                             page 5
           Case 16-04725
            Lauro
                                    Doc 1          Filed Ocampo
                                                          02/15/16 Entered 02/15/16 17:17:07                              Desc Main
Debtor 1                                                                     Case number (if known)
             First Name            Middle Name       Document
                                                         Last Name Page 6 of 45
 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you         16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                     as "incurred by an individual primarily for a personal, family, or household purpose."
                                                    No. Go to line 16b.
                                                    Yes. Go to line 17.

                                      16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                      16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                               No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after               Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                             No
    are paid that funds will be
                                                        Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                    1-49                             1,000-5,000                           25,001-50,000
    you estimate that you                    50-99                            5,001-10,000                          50,001-100,000
    owe?                                     100-199                          10,001-25,000                         More than 100,000
                                             200-999

19. How much do you                          $0-$50,000                       $1,000,001-$10 million                $500,000,001-$1 billion
    estimate your assets to                  $50,001-$100,000                 $10,000,001-$50 million               $1,000,000,001-$10 billion
    be worth?                                $100,001-$500,000                $50,000,001-$100 million              $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million             More than $50 billion

20. How much do you                          $0-$50,000                       $1,000,001-$10 million                $500,000,001-$1 billion
    estimate your liabilities to             $50,001-$100,000                 $10,000,001-$50 million               $1,000,000,001-$10 billion
    be?                                      $100,001-$500,000                $50,000,001-$100 million              $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million             More than $50 billion

 Part 7:      Sign Below
For you                               I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                      and correct.

                                      If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                      or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                      proceed under Chapter 7.

                                      If no attorney represents me and I did not pay or agree to pay someone who is an attorney to help me fill
                                      out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                      I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                      I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                      connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                      or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                      X /s/ Lauro Ocampo                                          X
                                         Signature of Debtor 1                                        Signature of Debtor 2

                                         Executed on 02/15/2016                                       Executed on
                                                     MM / DD / YYYY                                                 MM / DD / YYYY




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                            page 6
           Case 16-04725
            Lauro
                                 Doc 1        Filed Ocampo
                                                     02/15/16 Entered 02/15/16 17:17:07                              Desc Main
Debtor 1                                                                Case number (if known)
             First Name         Middle Name     Document
                                                    Last Name Page 7 of 45
For your attorney, if you are      I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one                 eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                   relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by      the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need       certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.                 is incorrect.



                                   X /s/ HAROLD M. SAALFELD                                              Date 02/15/2016
                                      Signature of Attorney for Debtor                                        MM / DD / YYYY


                                      HAROLD M. SAALFELD
                                      Printed name
                                      HAROLD M. SAALFELD, ATTORNEY AT LAW
                                      Firm Name
                                      25 NORTH COUNTY STREET
                                      Number          Street
                                      SUITE 2R




                                      WAUKEGAN                                                   IL              60085-4342
                                      City                                                       State           ZIP Code


                                      Contact phone (847) 249-7538                     Email address waukeganlaw@gmail.com


                                      6231257
                                      Bar number                                                 State




Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                            page 7
             Case 16-04725                  Doc 1         Filed 02/15/16 Entered 02/15/16 17:17:07                                       Desc Main
                                                            Document     Page 8 of 45
 Fill in this information to identify your case and this filing:
 Debtor 1               Lauro                                             Ocampo
                        First Name               Middle Name              Last Name

 Debtor 2
 (Spouse, if filing) First Name                  Middle Name              Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

 Case number
                                                                                                                                    Check if this is an
 (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
Single family home 4 rm                                  Check all that apply.                               amount of any secured claims on Schedule D:
Single family 4 rm , 1 bath home                              Single-family home                             Creditors Who Have Claims Secured by Property.
2218 Lewis Ave, North Chicago, IL                             Duplex or multi-unit building                  Current value of the            Current value of the
60064                                                         Condominium or cooperative                     entire property?                portion you own?
Valued at $68,00 by zillow                                    Manufactured or mobile home                                         $0.00                     $0.00
                                                              Land
                                                              Investment property                            Describe the nature of your ownership
County                                                        Timeshare                                      interest (such as fee simple, tenancy by the
                                                              Other                                          entireties, or a life estate), if known.

                                                                                                             Fee Simple
                                                         Who has an interest in the property?
                                                         Check one.
                                                              Debtor 1 only                                       Check if this is community property
                                                              Debtor 2 only                                       (see instructions)
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................                  $0.00


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 1
            Case 16-04725                 Doc 1         Filed 02/15/16 Entered 02/15/16 17:17:07                                       Desc Main
Debtor 1         Lauro                                    Document
                                                             Ocampo    Page 9 of 45
                                                                                 Case number (if known)
                 First Name            Middle Name              Last Name

4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................                  $0.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               1/2 interest in household goods & furnishings with non-filing spouse $300                                               $300.00

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............

8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............

9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe............

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
           No
           Yes. Describe............
                               Necessary Wearing Apparel                                                                                               $300.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
           No
           Yes. Describe............

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
           No
           Yes. Describe............




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 2
             Case 16-04725                            Doc 1              Filed 02/15/16 Entered 02/15/16 17:17:07                                                                Desc Main
Debtor 1          Lauro                                                   Document
                                                                              Ocampo   Page 10 ofCase
                                                                                                  45 number (if known)
                  First Name                       Middle Name                      Last Name

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                        $600.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                        Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                        portion you own?
                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                        claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................               $20.00

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                   Institution name:

             17.1.        Checking account:                     Chase
                                                                xxxxx
                                                                1/2 interest in joint checking account with tax refunds.
                                                                This is the same refund money listed in questions 28                                                                                     $1,500.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes.............................. Institution or issuer name:




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
            No
            Yes. Give specific
            information about
            them...............................................
                                               Name of entity:                                                                                           % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
            No
            Yes. Give specific                 Issuer name:
            information about
            them...............................................




Official Form 106A/B                                                                       Schedule A/B: Property                                                                                                  page 3
            Case 16-04725                       Doc 1         Filed 02/15/16 Entered 02/15/16 17:17:07                           Desc Main
Debtor 1         Lauro                                         Document
                                                                   Ocampo   Page 11 ofCase
                                                                                       45 number (if known)
                 First Name                    Middle Name          Last Name

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:       Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                   Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)




25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them




Official Form 106A/B                                                    Schedule A/B: Property                                                    page 4
             Case 16-04725                       Doc 1           Filed 02/15/16 Entered 02/15/16 17:17:07                                                  Desc Main
Debtor 1         Lauro                                            Document
                                                                      Ocampo   Page 12 ofCase
                                                                                          45 number (if known)
                 First Name                   Middle Name                  Last Name

Money or property owed to you?                                                                                                                                   Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you

            No
            Yes. Give specific information Federal: 1/2 interest with non-filing spouse in tax refund of                                              Federal:             $2,228.50
            about them, including whether $4457. Amt: $2,228.50
            you already filed the returns                                                                                                             State:                 $136.50
            and the tax years.....................................
                                                     State: 1/2 interest in tax refunds from state $273 gross.                                        Local:                    $0.00
                                                       Amt: $136.50
29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
            No
            Yes. Give specific information                                                                                            Alimony:                                  $0.00
                                                                                                                                      Maintenance:                              $0.00

                                                                                                                                      Support:                                  $0.00
                                                                                                                                      Divorce settlement:                       $0.00

                                                                                                                                      Property settlement:                      $0.00

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
            No
            Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
            Yes. Name the insurance               Company name:                                                 Beneficiary:                                Surrender or refund value:
            company of each policy
            and list its value................




32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................     $3,885.00



Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 5
             Case 16-04725                      Doc 1            Filed 02/15/16 Entered 02/15/16 17:17:07                                                  Desc Main
Debtor 1         Lauro                                            Document
                                                                      Ocampo   Page 13 ofCase
                                                                                          45 number (if known)
                 First Name                   Middle Name                  Last Name

  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:




43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific
            information..................




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
             Case 16-04725                          Doc 1        Filed 02/15/16 Entered 02/15/16 17:17:07                                                  Desc Main
Debtor 1          Lauro                                           Document
                                                                      Ocampo   Page 14 ofCase
                                                                                          45 number (if known)
                  First Name                     Middle Name               Last Name

  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific
            information.......................




54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                            $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
              Case 16-04725                         Doc 1             Filed 02/15/16 Entered 02/15/16 17:17:07                                                         Desc Main
Debtor 1           Lauro                                               Document
                                                                           Ocampo   Page 15 ofCase
                                                                                               45 number (if known)
                   First Name                    Middle Name                    Last Name

  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................              $0.00

56. Part 2: Total vehicles, line 5                                                                                           $0.00

57. Part 3: Total personal and household items, line 15                                                                  $600.00

58. Part 4: Total financial assets, line 36                                                                           $3,885.00

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................               $4,485.00             property total                 +              $4,485.00



63. Total of all property on Schedule A/B.                          Add line 55 + line 62....................................................................................................... $4,485.00




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                      page 8
            Case 16-04725             Doc 1        Filed 02/15/16 Entered 02/15/16 17:17:07                                 Desc Main
                                                    Document     Page 16 of 45
 Fill in this information to identify your case:
 Debtor 1            Lauro                                        Ocampo
                     First Name            Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name            Middle Name            Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS
                                                                                                                      Check if this is an
 Case number                                                                                                          amended filing
 (if known)



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:       Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?              Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on            Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                    the portion you      exemption you claim
                                                         own
                                                         Copy the value from Check only one box for
                                                         Schedule A/B        each exemption


Brief description                                              $0.00                       $0.00           735 ILCS 5/12-901 & 902
Single family home 4 rm                                                            100% of fair market
Single family 4 rm , 1 bath home                                                   value, up to any
2218 Lewis Ave, North Chicago, IL 60064                                            applicable statutory
Valued at $68,00 by zillow                                                         limit
Line from Schedule A/B:  1.1

Brief description                                             $300.00                    $271.50           735 ILCS 5/12-1001(b)
1/2 interest in household goods &                                                  100% of fair market
furnishings with non-filing spouse $300                                            value, up to any
Line from Schedule A/B:   6                                                        applicable statutory
                                                                                   limit

3. Are you claiming a homestead exemption of more than $155,675?
Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                page 1
      (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
           Case 16-04725           Doc 1         Filed 02/15/16 Entered 02/15/16 17:17:07                       Desc Main
Debtor 1     Lauro
                                                  Document
                                                      Ocampo
                                                               Page 17 ofCase
                                                                          45 number (if known)
             First Name          Middle Name           Last Name


 Part 2:       Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description                                        $300.00                  $300.00           735 ILCS 5/12-1001(a), (e)
Necessary Wearing Apparel                                                    100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description                                        $20.00                     $0.00           735 ILCS 5/12-1001(b)
Cash on hand                                                                 100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    16
                                                                             applicable statutory
                                                                             limit

Brief description                                       $1,500.00                $1,500.00          735 ILCS 5/12-1001(b)
Chase                                                                        100% of fair market
xxxxx                                                                        value, up to any
1/2 interest in joint checking account with                                  applicable statutory
tax refunds.                                                                 limit
This is the same refund money listed in
questions 28
Line from Schedule A/B: 17.1

Brief description                                       $2,228.50                $2,228.50          735 ILCS 5/12-1001(b)
1/2 interest with non-filing spouse in tax                                   100% of fair market
refund of $4457                                                              value, up to any
Line from Schedule A/B:   28                                                 applicable statutory
                                                                             limit

Brief description                                        $136.50                  $136.50           735 ILCS 5/12-1001(a), (e)
1/2 interest in tax refunds from state $273                                  100% of fair market
gross.                                                                       value, up to any
Line from Schedule A/B:   28                                                 applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
             Case 16-04725                  Doc 1    Filed 02/15/16 Entered 02/15/16 17:17:07                              Desc Main
                                                      Document     Page 18 of 45
  Fill in this information to identify your case:
  Debtor 1             Lauro                                        Ocampo
                       First Name             Middle Name           Last Name

  Debtor 2
  (Spouse, if filing) First Name              Middle Name           Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

  Case number
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing



Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                            $76,288.00                     $0.00          $76,288.00
Ditech Financial Llc
Creditor's name
                                                 Single family home 4 rm
332 Minnesota St Ste 610
Number       Street


Saint Paul               MN      55101           As of the date you file, the claim is: Check all that apply.
City                     State   ZIP Code            Contingent
                                                     Unliquidated
Who owes the debt?       Check one.
                                                     Disputed
   Debtor 1 only
   Debtor 2 only                           Nature of lien. Check all that apply.
   Debtor 1 and Debtor 2 only                 An agreement you made (such as mortgage or secured car loan)
   At least one of the debtors and another    Statutory lien (such as tax lien, mechanic's lien)
                                              Judgment lien from a lawsuit
   Check if this claim relates                Other (including a right to offset) Conventional Real Estate Mortgage
   to a community debt

Date debt was incurred           08/2005         Last 4 digits of account number        9     2    8    6




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $76,288.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                             $76,288.00

Official Form 106D                            Schedule D: Creditors Who Have Claims Secured by Property                                          page 1
            Case 16-04725             Doc 1        Filed 02/15/16 Entered 02/15/16 17:17:07                               Desc Main
                                                    Document     Page 19 of 45
 Fill in this information to identify your case:
 Debtor 1           Lauro                                         Ocampo
                    First Name             Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing



Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


 Part 1:       List All of Your PRIORITY Unsecured Claims
1.   Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
          Yes.

2.   List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
     claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
     show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
     more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
     claim, list the other creditors in Part 3.

     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                    Total claim       Priority              Nonpriority
                                                                                                                      amount                amount




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1
            Case 16-04725                Doc 1         Filed 02/15/16 Entered 02/15/16 17:17:07                                Desc Main
Debtor 1       Lauro
                                                        Document
                                                            Ocampo
                                                                     Page 20 ofCase
                                                                                45 number (if known)
               First Name               Middle Name           Last Name


  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with you other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $2,508.00
Great American Finance                                      Last 4 digits of account number         2 0        2     4
Nonpriority Creditor's Name
                                                            When was the debt incurred?           06/2015
20 North Wacker Dr
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Chicago                         IL       60606                  Disputed
City                            State    ZIP Code
Who incurred the debt?      Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Household Goods
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                          $3,368.00
Hy Cite/royal Prestige                                      Last 4 digits of account number         3 3        3     4
Nonpriority Creditor's Name
                                                            When was the debt incurred?           09/2014
333 Holtzman Rd
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
Madison                         WI       53713                  Disputed
City                            State    ZIP Code
Who incurred the debt?      Check one.
                                                            Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                               Student loans
   Debtor 2 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                               that you did not report as priority claims
   At least one of the debtors and another
                                                               Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt             Other. Specify Installment Sales Contract
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 2
            Case 16-04725              Doc 1         Filed 02/15/16 Entered 02/15/16 17:17:07                            Desc Main
Debtor 1       Lauro
                                                      Document
                                                          Ocampo
                                                                   Page 21 ofCase
                                                                              45 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

   4.3                                                                                                                                $341.00
Kohls/capone                                              Last 4 digits of account number      9 2        1    6
Nonpriority Creditor's Name
                                                          When was the debt incurred?        12/2007
N56 W 17000 Ridgewood Dr
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Menomonee Falls               WI       53051                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Charge Account
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                               $3,822.00
Sears/cbna                                                Last 4 digits of account number      5 5        8    1
Nonpriority Creditor's Name
                                                          When was the debt incurred?        10/2007
Po Box 6283
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Sioux Falls                   SD       57117                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Credit Card
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                               $3,970.00
Syncb/sams Club Dc                                        Last 4 digits of account number      4 9        4    7
Nonpriority Creditor's Name
                                                          When was the debt incurred?        02/2011
Po Box 965005
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Orlando                       FL       32896                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                     page 3
            Case 16-04725              Doc 1         Filed 02/15/16 Entered 02/15/16 17:17:07                            Desc Main
Debtor 1       Lauro
                                                      Document
                                                          Ocampo
                                                                   Page 22 ofCase
                                                                              45 number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

   4.6                                                                                                                               $5,391.00
Syncb/walmart                                             Last 4 digits of account number      7 2        8    2
Nonpriority Creditor's Name
                                                          When was the debt incurred?        11/2005
Po Box 965024
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
El Paso                       TX       79998                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Charge Account
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                $697.00
Thd/cbna                                                  Last 4 digits of account number      2 3        4    5
Nonpriority Creditor's Name
                                                          When was the debt incurred?        11/2006
Po Box 6497
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
Sioux Falls                   SD       57117                  Disputed
City                          State    ZIP Code
Who incurred the debt?      Check one.
                                                          Type of NONPRIORITY unsecured claim:
   Debtor 1 only
                                                             Student loans
   Debtor 2 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 1 and Debtor 2 only
                                                             that you did not report as priority claims
   At least one of the debtors and another
                                                             Debts to pension or profit-sharing plans, and other similar debts
       Check if this claim is for a community debt           Other. Specify Charge Account
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                     page 4
           Case 16-04725                  Doc 1        Filed 02/15/16 Entered 02/15/16 17:17:07                            Desc Main
Debtor 1       Lauro
                                                        Document
                                                            Ocampo
                                                                     Page 23 ofCase
                                                                                45 number (if known)
               First Name               Middle Name             Last Name


 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                   Total claim

Total claims        6a. Domestic support obligations                                                     6a.                     $0.00
from Part 1
                    6b. Taxes and certain other debts you owe the government                             6b.                     $0.00

                    6c. Claims for death or personal injury while you were intoxicated                   6c.                     $0.00

                    6d. Other. Add all other priority unsecured claims. Write that amount here.          6d.   +                 $0.00


                    6e. Total.       Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                                   Total claim

Total claims        6f.     Student loans                                                                6f.                     $0.00
from Part 2
                    6g. Obligations arising out of a separation agreement or divorce                     6g.                     $0.00
                        that you did not report as priority claims

                    6h. Debts to pension or profit-sharing plans, and other similar                      6h.                     $0.00
                        debts

                    6i.     Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +         $20,097.00


                    6j.     Total.   Add lines 6f through 6i.                                            6j.             $20,097.00




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                      page 5
            Case 16-04725            Doc 1        Filed 02/15/16 Entered 02/15/16 17:17:07                              Desc Main
                                                   Document     Page 24 of 45
 Fill in this information to identify your case:
 Debtor 1            Lauro                                       Ocampo
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
            Case 16-04725            Doc 1       Filed 02/15/16 Entered 02/15/16 17:17:07                               Desc Main
                                                  Document     Page 25 of 45
 Fill in this information to identify your case:
 Debtor 1            Lauro                                       Ocampo
                     First Name          Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name          Middle Name             Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?       (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              No
              Yes
3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt

                                                                                             Check all schedules that apply:




Official Form 106H                                         Schedule H: Your Codebtors                                                     page 1
            Case 16-04725               Doc 1        Filed 02/15/16 Entered 02/15/16 17:17:07                                  Desc Main
                                                      Document     Page 26 of 45
 Fill in this information to identify your case:
     Debtor 1              Lauro                                       Ocampo
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   NORTHERN DISTRICT OF ILLINOIS
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             General Labor
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Williams Custom Carpentry, Inc.

      Occupation may include            Employer's address     9300 Champion
      student or homemaker, if it                              Number Street                                      Number Street
      applies.
                                                               Spring Grove, IL60081




                                                               City                         State    Zip Code     City                   State   Zip Code

                                        How long employed there?        8 month


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                  $2,946.67                  $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.

3.    Estimate and list monthly overtime pay.                                      3.   +               $0.00                  $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.               $2,946.67                  $0.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1
            Case 16-04725                        Doc 1            Filed 02/15/16 Entered 02/15/16 17:17:07 Desc Main
Debtor 1 Lauro
                                                                   Document
                                                                         Ocampo
                                                                                Page 27 of 45 Case number (if known)
           First Name                         Middle Name                        Last Name


                                                                                                                    For Debtor 1                 For Debtor 2 or
                                                                                                                                                 non-filing spouse

     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $2,946.67                $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.              $436.84                      $0.00
     5b. Mandatory contributions for retirement plans                                                       5b.                $0.00                      $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.                $0.00                      $0.00
     5d. Required repayments of retirement fund loans                                                       5d.                $0.00                      $0.00
     5e. Insurance                                                                                          5e.                $0.00                      $0.00
     5f. Domestic support obligations                                                                       5f.                $0.00                      $0.00
     5g. Union dues                                                                                         5g.                $0.00                      $0.00
     5h. Other deductions.
          Specify:                                                                                          5h. +                $0.00                    $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.               $436.84                      $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $2,509.83                       $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.                  $0.00                    $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.

     8b. Interest and dividends                                                                             8b.                  $0.00                    $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00                    $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.

     8d. Unemployment compensation                                                                          8d.                  $0.00                    $0.00
     8e. Social Security                                                                                    8e.                  $0.00                    $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00                    $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00                    $0.00
     8h. Other monthly income.
         Specify:                                                                                           8h. +                $0.00                    $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.                   $0.00                    $0.00

10. Calculate monthly income. Add line 7 + line 9.                                                          10.           $2,509.83          +            $0.00      =       $2,509.83
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                12.             $2,509.83
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                       Combined
                                                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
           Yes. Explain:




Official Form 106I                                                               Schedule I: Your Income                                                                          page 2
            Case 16-04725               Doc 1        Filed 02/15/16 Entered 02/15/16 17:17:07                                 Desc Main
                                                      Document     Page 28 of 45
 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Lauro                                         Ocampo                              An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS                                  MM / DD / YYYY
     Case number
     (if known)


Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  CHILD                               17
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.                                                                      DEPENDENT                           15
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                  DEPENDENT                           10
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?



 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                     $868.34
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                    $100.00

      4d. Homeowner's association or condominium dues                                                                4d.



 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
            Case 16-04725             Doc 1        Filed 02/15/16 Entered 02/15/16 17:17:07 Desc Main
Debtor 1 Lauro
                                                    Document
                                                          Ocampo
                                                                 Page 29 of 45 Case number (if known)
            First Name               Middle Name            Last Name


                                                                                              Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans         5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                 6a.                   $225.00
     6b. Water, sewer, garbage collection                                               6b.                    $60.00
     6c. Telephone, cell phone, Internet, satellite, and                                6c.                    $90.00
         cable services
     6d. Other. Specify:       Cellular x 4                                             6d.                   $125.00
7.   Food and housekeeping supplies                                                     7.                    $450.00
8.   Childcare and children's education costs                                           8.

9.   Clothing, laundry, and dry cleaning                                                9.                    $125.00
10. Personal care products and services                                                 10.                   $100.00
11. Medical and dental expenses                                                         11.                   $125.00
12. Transportation. Include gas, maintenance, bus or train                              12.                   $200.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                       13.                    $50.00
    magazines, and books
14. Charitable contributions and religious donations                                    14.                    $10.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                             15a.

     15b.    Health insurance                                                           15b.

     15c.    Vehicle insurance                                                          15c.

     15d.    Other insurance. Specify:                                                  15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                            16.

17. Installment or lease payments:

     17a.    Car payments for Vehicle 1                                                 17a.

     17b.    Car payments for Vehicle 2                                                 17b.

     17c.    Other. Specify:                                                            17c.

     17d.    Other. Specify:                                                            17d.

18. Your payments of alimony, maintenance, and support that you did not report as       18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                            19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.    Mortgages on other property                                                20a.

     20b.    Real estate taxes                                                          20b.

     20c.    Property, homeowner's, or renter's insurance                               20c.

     20d.    Maintenance, repair, and upkeep expenses                                   20d.

     20e.    Homeowner's association or condominium dues                                20e.


 Official Form 106J                                         Schedule J: Your Expenses                            page 2
           Case 16-04725               Doc 1        Filed 02/15/16 Entered 02/15/16 17:17:07 Desc Main
Debtor 1 Lauro
                                                     Document
                                                           Ocampo
                                                                  Page 30 of 45 Case number (if known)
           First Name                 Middle Name           Last Name


21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.       $2,528.34
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.       $2,528.34

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.       $2,509.83
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –   $2,528.34
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.        ($18.51)

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form 106J                                         Schedule J: Your Expenses                                       page 3
            Case 16-04725                       Doc 1             Filed 02/15/16 Entered 02/15/16 17:17:07                                                     Desc Main
                                                                   Document     Page 31 of 45
 Fill in this information to identify your case:
 Debtor 1                Lauro                                                       Ocampo
                         First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

 Case number
                                                                                                                                                          Check if this is an
 (if known)
                                                                                                                                                          amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)

     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................            $0.00


                                                                                                                                                                           $4,485.00
     1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................................................................


                                                                                                                                                                                 $4,485.00
     1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................................................................



 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                            $76,288.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +                 $20,097.00
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                          $96,385.00




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $2,509.83
     Copy your combined monthly income from line 12 of Schedule I..............................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                 $2,528.34




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
           Case 16-04725              Doc 1        Filed 02/15/16 Entered 02/15/16 17:17:07                            Desc Main
Debtor 1      Lauro                                 Document
                                                        Ocampo   Page 32 ofCase
                                                                            45 number (if known)
              First Name            Middle Name           Last Name


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                     $2,946.67


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                        $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                              $0.00


     9d. Student loans. (Copy line 6f.)                                                                               $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                      $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                 $0.00


     9g. Total.    Add lines 9a through 9f.                                                                           $0.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
            Case 16-04725          Doc 1       Filed 02/15/16 Entered 02/15/16 17:17:07                          Desc Main
                                                Document     Page 33 of 45
 Fill in this information to identify your case:
 Debtor 1           Lauro                                    Ocampo
                    First Name          Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Lauro Ocampo                                     X
        Signature of Debtor 1                                  Signature of Debtor 2

        Date 02/15/2016                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
            Case 16-04725            Doc 1        Filed 02/15/16 Entered 02/15/16 17:17:07                          Desc Main
                                                   Document     Page 34 of 45
 Fill in this information to identify your case:
 Debtor 1           Lauro                                        Ocampo
                    First Name            Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                       Dates Debtor 1            Debtor 2:                                 Dates Debtor 2
                                                        lived there                                                         lived there

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 1
            Case 16-04725                  Doc 1     Filed 02/15/16 Entered 02/15/16 17:17:07                              Desc Main
Debtor 1         Lauro                                Document
                                                          Ocampo   Page 35 ofCase
                                                                              45 number (if known)
                 First Name            Middle Name           Last Name


 Part 2:          Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


 Part 3:          List Certain Payments You Made Before You Filed for Bankruptcy
6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                   "incurred by an individual primarily for a personal, family, or household purpose."

                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                   * Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                            Also, do not include payments to an attorney for this bankruptcy case.


                                                             Dates of       Total amount         Amount you          Was this payment for...
                                                             payment        paid                 stil owe




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 2
            Case 16-04725               Doc 1        Filed 02/15/16 Entered 02/15/16 17:17:07                             Desc Main
Debtor 1         Lauro                                Document
                                                          Ocampo   Page 36 ofCase
                                                                              45 number (if known)
                 First Name            Middle Name         Last Name

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.

           No
           Yes. List all payments to an insider.

                                                           Dates of       Total amount         Amount you           Reason for this payment
                                                           payment        paid                 still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.

                                                           Dates of       Total amount         Amount you           Reason for this payment
                                                           payment        paid                 still owe            Include creditor's name


 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

                                           Nature of the case                         Court or agency                             Status of the case

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3
            Case 16-04725                 Doc 1        Filed 02/15/16 Entered 02/15/16 17:17:07                          Desc Main
Debtor 1       Lauro                                    Document
                                                            Ocampo   Page 37 ofCase
                                                                                45 number (if known)
               First Name               Middle Name            Last Name


  Part 5:        List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

  Part 6:        List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                       Description and value of any property transferred        Date payment        Amount of
HAROLD M. SAALFELD                                                                                              or transfer was     payment
Person Who Was Paid                                                                                             made

25 NORTH COUNTY STREET                                                                                             02/15/2016           $1,200.00
Number      Street

SUITE 2R

WAUKEGAN                        IL        60085-4342
City                            State     ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
            Case 16-04725               Doc 1        Filed 02/15/16 Entered 02/15/16 17:17:07                         Desc Main
Debtor 1       Lauro                                  Document
                                                          Ocampo   Page 38 ofCase
                                                                              45 number (if known)
               First Name              Middle Name         Last Name

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
    Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

 Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 5
            Case 16-04725               Doc 1        Filed 02/15/16 Entered 02/15/16 17:17:07                                 Desc Main
Debtor 1       Lauro                                  Document
                                                          Ocampo   Page 39 ofCase
                                                                              45 number (if known)
               First Name              Middle Name           Last Name


 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.
   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.

   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


           No
           Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

           No
           Yes. Fill in the details.

 Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 6
           Case 16-04725           Doc 1       Filed 02/15/16 Entered 02/15/16 17:17:07                         Desc Main
Debtor 1     Lauro                              Document
                                                    Ocampo   Page 40 ofCase
                                                                        45 number (if known)
             First Name          Middle Name          Last Name


 Part 12:     Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Lauro Ocampo                                    X
   Signature of Debtor 1                                  Signature of Debtor 2

   Date     02/15/2016                                    Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                   Attach the Bankruptcy Petition Preparer's Notice,
                                                                                          Declaration, and Signature (Official Form 119).




Official Form 107                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 7
            Case 16-04725             Doc 1       Filed 02/15/16 Entered 02/15/16 17:17:07                        Desc Main
                                                   Document     Page 41 of 45
 Fill in this information to identify your case:
 Debtor 1            Lauro                                        Ocampo
                     First Name           Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

 Case number
                                                                                                                             Check if this is an
 (if known)
                                                                                                                             amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                             12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:        List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the      Did you claim the property
                                                                        property that secures a debt?          as exempt on Schedule C?

      None.


 Part 2:        List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

      Describe your unexpired personal property leases                                                        Will this lease be assumed?

      None.


 Part 3:        Sign Below

     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
     personal property that is subject to an unexpired lease.

X /s/ Lauro Ocampo                                       X
     Signature of Debtor 1                                   Signature of Debtor 2

     Date 02/15/2016                                         Date
          MM / DD / YYYY                                             MM / DD / YYYY




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
              Case 16-04725                        Doc 1             Filed 02/15/16 Entered 02/15/16 17:17:07                                                      Desc Main
                                                                      Document     Page 42 of 45
B2030 (Form 2030) (12/15)

                                                          UNITED STATES BANKRUPTCY COURT
                                                            NORTHERN DISTRICT OF ILLINOIS
                                                             EASTERN DIVISION (CHICAGO)
In re Lauro Ocampo                                                                                                                  Case No.

                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $1,200.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $1,200.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
         Case 16-04725           Doc 1      Filed 02/15/16 Entered 02/15/16 17:17:07                     Desc Main
                                             Document     Page 43 of 45
B2030 (Form 2030) (12/15)


6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   02/15/2016                         /s/ HAROLD M. SAALFELD
                      Date                            HAROLD M. SAALFELD                         Bar No. 6231257
                                                      HAROLD M. SAALFELD, ATTORNEY AT LAW
                                                      25 NORTH COUNTY STREET
                                                      SUITE 2R
                                                      WAUKEGAN, IL 60085-4342
                                                      Phone: (847) 249-7538 / Fax: (847) 249-3301



    /s/ Lauro Ocampo
   Lauro Ocampo
           Case 16-04725          Doc 1     Filed 02/15/16 Entered 02/15/16 17:17:07                  Desc Main
                                             Document     Page 44 of 45
                                      UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF ILLINOIS
                                         EASTERN DIVISION (CHICAGO)
  IN RE:   Lauro Ocampo                                                           CASE NO

                                                                                  CHAPTER     7

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 2/15/2016                                           Signature    /s/ Lauro Ocampo
                                                                     Lauro Ocampo



Date                                                     Signature
         Case 16-04725      Doc 1   Filed 02/15/16 Entered 02/15/16 17:17:07   Desc Main
                                     Document     Page 45 of 45

Ditech Financial Llc
332 Minnesota St Ste 610
Saint Paul, MN 55101



Great American Finance
20 North Wacker Dr
Chicago, IL 60606



Hy Cite/royal Prestige
333 Holtzman Rd
Madison, WI 53713



Kohls/capone
N56 W 17000 Ridgewood Dr
Menomonee Falls, WI 53051



Sears/cbna
Po Box 6283
Sioux Falls, SD 57117



Syncb/sams Club Dc
Po Box 965005
Orlando, FL 32896



Syncb/walmart
Po Box 965024
El Paso, TX 79998



Thd/cbna
Po Box 6497
Sioux Falls, SD 57117
